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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Joint Administration Requested)



           NOTICE OF AGENDA OF FIRST DAY MATTERS SCHEDULED FOR
            HEARING ON AUGUST 23, 2023 AT 11:30 A.M. (EASTERN TIME2)



                THE HEARING WILL BE CONDUCTED VIA ZOOM ONLY.

            Please see below for the connection and registration information.
Please Note: All individuals participating by video must register at least 2 hours prior to
 the hearing at the provided link. After registering your appearance by Zoom, you will
  receive a confirmation email containing information about joining the hearing. You
               must use your full name when registering and logging into
                  Zoom or you will not be granted access to the hearing.

                                        Registration Link:
                 https://protect-us.mimecast.com/s/Zq83CERPmRf6V77YhN33hf


1.       Voluntary Petitions:

         A.       Clean Beauty Collaborative, Inc. Case No. 23-11224 (TMH) [Filed 08/21/23,

                  Docket No. 1].

         B.       Clean Beauty 4U LLC Case No. 23-11225 (TMH) [Filed 08/21/23, Docket

                  No. 1].



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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
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     All motions and other pleadings referenced herein are available online at the following web address:
     https://cases.stretto.com/Amyris
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        C.         Clean Beauty 4U Holdings, LLC Case No. 23-11226 (TMH) [Filed 08/21/23,

                   Docket No. 1].

                                         First Day Declaration

2.      Joint Motion of the Debtors for Order (A) Directing Joint Administration of Related
        Chapter 11 Cases For Procedural Purposes Only, and (B) Applying Certain Orders in
        the Chapter 11 Cases of Amyris, Inc. and Its Affiliated Debtors to the Chapter 11 Cases
        of Clean Beauty Collaborative, Inc., Clean Beauty 4U Holdings, LLC, and Clean Beauty
        4U LLC [Filed 08/21/2023, Docket No. 119].

        A.         Declaration of Han Kieftenbeld in Support of Joint Motion of the Debtors for
                   Order (A) Directing Joint Administration of Related Chapter 11 Cases For
                   Procedural Purposes Only, and (B) Applying Certain Orders in the Chapter 11
                   Cases of Amyris, Inc. and Its Affiliated Debtors to the Chapter 11 Cases of Clean
                   Beauty Collaborative, Inc., Clean Beauty 4U Holdings, LLC, and Clean Beauty
                   4U LLC [Filed 08/21/2023, Docket No. 120].

        Status:       This matter is going forward.


Dated: August 21, 2023                             PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ James E. O’Neill
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                                                   Proposed Counsel to the Debtors and Debtors in
                                                   Possession




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